    Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 1 of 13




                                              24-6010MJ




January 23, 2024@3:27pm
Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 2 of 13
Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 3 of 13
Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 4 of 13
Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 5 of 13
Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 6 of 13
Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 7 of 13
Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 8 of 13
Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 9 of 13
Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 10 of 13
Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 11 of 13
Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 12 of 13
  Case 2:24-mj-06010-ASB Document 1 Filed 01/23/24 Page 13 of 13




23rd
